 Case 1:15-cr-00179-RJJ          ECF No. 60, PageID.117           Filed 11/23/15       Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:15-cr-00179
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
NICHOLAS MINES,                     )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 20, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Nicholas Mines entered a plea of guilty to the Indictment in exchange for the

undertakings made by the government in the written plea agreement. In the Indictment, defendant

is charged with conspiracy to distribute controlled substances in violation of 21 U.S.C. §§ 846,

841(a)(1) and 841(b)(1)(C). On the basis of the record made at the hearing, I find that defendant is

fully capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
 Case 1:15-cr-00179-RJJ          ECF No. 60, PageID.118           Filed 11/23/15      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to the Indictment be accepted,

that the court adjudicate defendant guilty, and that the written plea agreement be considered for

acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, and imposition of sentence are specifically reserved for the district judge.



Date: November 23, 2015                                /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                -2-
